

People v Pierre (2019 NY Slip Op 03623)





People v Pierre


2019 NY Slip Op 03623


Decided on May 8, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 8, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
CHERYL E. CHAMBERS
SHERI S. ROMAN
JOSEPH J. MALTESE
FRANCESCA E. CONNOLLY, JJ.


2017-05763
 (Ind. No. 6248/16)

[*1]The People of the State of New York, respondent,
vJean Pierre, appellant.


Paul Skip Laisure, New York, NY (Lynn W. L. Fahey of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Jodi L. Mandel of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Kings County (Martin P. Murphy, J.), rendered May 3, 2017, convicting him of petit larceny, upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the judgment is affirmed.
We are satisfied with the sufficiency of the brief filed by the defendant's assigned counsel pursuant to Anders v California (386 US 738). Although the brief did not analyze the defendant's waiver of the right to appeal, the enforceability or unenforceability of the defendant's waiver of the right to appeal makes no practical difference to the eventual Anders outcome (see People v Murray, 169 AD3d 227). Moreover, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal (see id.). Counsel's application for leave to withdraw as counsel is, therefore, granted (see Anders v California, 386 US at 744; People v Murray, 169 AD3d 227; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252).
BALKIN, J.P., CHAMBERS, ROMAN, MALTESE and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








